      Case 4:19-cv-07123-PJH       Document 401   Filed 09/27/24    Page 1 of 32




     Greg D. Andres
 1
     Antonio J. Perez-Marques
 2   Craig T. Cagney
     Luca Marzorati
 3     (admitted pro hac vice)
     DAVIS POLK & WARDWELL LLP
 4   450 Lexington Avenue
     New York, New York 10017
 5
     Telephone: (212) 450-4000
 6   Facsimile: (212) 701-5800
     Email: greg.andres@davispolk.com
 7            antonio.perez@davispolk.com
              craig.cagney@davispolk.com
 8            luca.marzorati@davispolk.com
 9   Micah G. Block (SBN 270712)
     DAVIS POLK & WARDWELL LLP
10
     1600 El Camino Real
11   Menlo Park, California 94025
     Telephone: (650) 752-2000
12   Facsimile: (650) 752-2111
     Email: micah.block@davispolk.com
13
     Attorneys for Plaintiffs
14
     WhatsApp LLC and Meta Platforms, Inc.
15
                                UNITED STATES DISTRICT COURT
16
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
17

18                                     OAKLAND DIVISION

19
      WHATSAPP LLC and                  )         Case No. 4:19-cv-07123-PJH
20    META PLATFORMS, INC., a Delaware  )
      corporation,                      )
21                                      )         PLAINTIFFS’ NOTICE OF MOTION
22                    Plaintiffs,       )         AND MOTION FOR PARTIAL
                                        )         SUMMARY JUDGMENT
23           v.                         )
                                        )           Date: November 1, 2024
24    NSO GROUP TECHNOLOGIES LIMITED )              Time: 1:30 p.m.
      and Q CYBER TECHNOLOGIES LIMITED, )           Ctrm: 3
25                                      )           Judge: Hon. Phyllis J. Hamilton
26                    Defendants.       )           Action Filed: October 29, 2019
                                        )
27                                      )

28
                                      [REDACTED VERSION]
       Case 4:19-cv-07123-PJH                        Document 401                 Filed 09/27/24                Page 2 of 32




                                                          TABLE OF CONTENTS
 1
                                                                                                                                                   PAGE
 2

 3   MEMORANDUM OF POINTS AND AUTHORITIES .....................................................................1

 4   BACKGROUND .................................................................................................................................3

 5   LEGAL STANDARD ..........................................................................................................................5

 6   ARGUMENT .......................................................................................................................................5

 7             I. NSO IS LIABLE ON PLAINTIFFS’ BREACH OF CONTRACT CLAIM ........................5

 8                        A.         NSO Agreed to the Terms ................................................................................6

 9                        B.         NSO Breached the Contract .............................................................................8

10                        C.         Plaintiffs Fulfilled Its Obligations and Suffered Damages From NSO’s
                                     Breaches .........................................................................................................11
11
               II.        NSO IS LIABLE ON PLAINTIFFS’ CFAA CLAIMS .............................................11
12
                          A.         NSO Violated § 1030(a)(2) and § 1030(a)(4) of the CFAA ..........................11
13
                                     1.         NSO Intentionally Accessed WhatsApp’s Servers and the Target
14                                              Devices ...............................................................................................12

15                                   2.         NSO Accessed WhatsApp Servers and the Official Client on
                                                Target Devices Without Authorization or Exceeded Any
16                                              Purported Authorized Access ............................................................13

17                                              a)         NSO Bypassed the Restrictions Built Into the Official
                                                           Client ......................................................................................15
18
                                                                                                                                              ..........17
19

20
                                                                                  ........................................................................18
21
                                                d)         NSO Exceeded Any Purported Authorization to Access
22                                                         WhatsApp’s Servers ...............................................................19

23                                              e)         NSO Accessed Target Devices Without Authorization .........20

24                                   3.         NSO Obtained Information in Violation of § 1030(a)(2) ..................20

25                                   4.         NSO Defrauded Plaintiffs and WhatsApp Users in Violation of §
                                                1030(a)(4) ..........................................................................................22
26
                          B.         NSO Conspired with Clients to Use Its Technology in Violation of §
27                                   1030(b) ...........................................................................................................23

28
                                                       i
     PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
       Case 4:19-cv-07123-PJH                       Document 401                 Filed 09/27/24               Page 3 of 32




 1                        C.         NSO Trafficked in Password-Like Information in Violation of §
                                     1030(a)(6) ......................................................................................................24
 2
                          D.         NSO Caused Plaintiffs a Loss of More than $5,000 ......................................25
 3
               III.       NSO IS LIABLE ON PLAINTIFFS’ CDAFA CLAIM ............................................25
 4
     CONCLUSION ..................................................................................................................................25
 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                        ii
     PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
       Case 4:19-cv-07123-PJH                      Document 401                Filed 09/27/24             Page 4 of 32




 1                                                   TABLE OF AUTHORITIES
 2
                                                                       CASES
 3

 4                                                                                                                                    PAGE(S)
     Alvarez v. Hill,
 5
        518 F.3d 1152 (9th Cir. 2008) .................................................................................................... 24
 6   Artifex Software, Inc. v. Hancom, Inc.,
        2017 WL 4005508 (N.D. Cal. Sept. 12, 2017) ........................................................................... 11
 7
     AWR Corp. v. ZTE, Corp.,
 8     2011 WL 13217534 (C.D. Cal. June 13, 2011) ............................................................................ 6
 9   Brodsky v. Apple Inc.,
        445 F. Supp. 3d 110 (N.D. Cal. 2020) ........................................................................................ 25
10
     E.D.C. Techs., Inc. v. Seidel,
11      216 F. Supp. 3d 1012 (N.D. Cal. 2016) ........................................................................................ 5

12   Facebook, Inc. v. MaxBounty, Inc.,
       274 F.R.D. 279 (N.D. Cal. 2011) ................................................................................................ 22
13
     Facebook, Inc. v. Power Ventures, Inc.,
       844 F.3d 1058 (9th Cir. 2016) .................................................................................. 14, 18, 19, 25
14
     Facebook, Inc. v. Sluchevsky,
15     2020 WL 5823277 (N.D. Cal. Aug. 28, 2020) ........................................................................... 11
16   hiQ Labs, Inc. v. LinkedIn Corp.,
        31 F.4th 1180 (9th Cir. 2022) ......................................................................................... 13, 14, 20
17
     HUD v. Rucker,
18     535 U.S. 125 (2002)..................................................................................................................... 21

19   In re: Lenovo Adware Litig.,
         2016 WL 6277245 (N.D. Cal. Oct. 27, 2016) ............................................................................ 23
20
     LVRC Holdings LLC v. Brekka,
21     581 F.3d 1127 (9th Cir. 2009) .................................................................................................... 13
     Meta Platforms, Inc. v. BrandTotal Ltd.,
22
       605 F. Supp. 3d 1218 (N.D. Cal. 2022) ...................................................................................... 25
23   MetroPCS v. Rivera,
       220 F. Supp. 3d 1326 (N.D. Ga. 2016) ....................................................................................... 24
24
     Mobile Active Def., Inc. v. L.A. Unified Sch. Dist.,
25     2016 WL 7444876 (C.D. Cal. Apr. 6, 2016) .............................................................................. 24
26   Multiven, Inc. v. Cisco Sys., Inc.,
       725 F. Supp. 2d 887 (N.D. Cal. 2010) ........................................................................................ 22
27
     NetApp, Inc. v. Nimble Storage, Inc.,
28      41 F. Supp. 3d 816 (N.D. Cal. 2014) .......................................................................................... 23
                                                       iii
     PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
       Case 4:19-cv-07123-PJH                         Document 401                 Filed 09/27/24               Page 5 of 32




 1   Nguyen v. Barnes & Noble Inc.,
       763 F.3d 1171 (9th Cir. 2014) ...................................................................................................... 6
 2   Planned Parenthood Fed’n of Am., Inc. v. Ctr. for Med. Progress,
        402 F. Supp. 3d 615 (N.D. Cal. 2019) ......................................................................................... 11
 3
     SEC v. McCarthy,
 4     322 F.3d 650 (9th Cir. 2003) ...................................................................................................... 21
 5   Shurgard Storage Ctrs., Inc. v. Safeguard Self Storage, Inc.,
        119 F. Supp. 2d 1121 (W.D. Wash. 2000) ................................................................................. 22
 6
     Silicon Image, Inc. v. Analogix Semiconductor,
 7       642 F. Supp. 2d 957 (N.D. Cal. 2008) ........................................................................................ 11

 8   Soremekun v. Thrifty Payless, Inc.,
        509 F.3d 978 (9th Cir. 2007) ........................................................................................................ 5
 9
     T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors Ass’n,
10      809 F.2d 626 (9th Cir. 1987) ........................................................................................................ 5
     Temurian v. Piccolo,
11     2019 WL 5963831 (S.D. Fla. Nov. 13, 2019) ............................................................................ 24
12   Theofel v. Farey-Jones,
        359 F.3d 1066 (9th Cir. 2004) ...................................................................................14, 15, 17, 21
13
     Tompkins v. 23andMe, Inc.,
14     2014 WL 2903752 (N.D. Cal. June 25, 2014) .............................................................................. 6
15   United States v. Christensen,
       828 F.3d 763 (9th Cir. 2016) ...................................................................................................... 25
16
     United States v. Morris,
17     928 F.2d 504 (2d Cir. 1991) ................................................................................................. 20, 21

18   United States v. Nosal,
       844 F.3d 1024 (9th Cir. 2016) .................................................................................. 14, 17, 19, 22
19   United States v. Phillips,
       477 F.3d 215 (5th Cir. 2007) ...................................................................................................... 19
20
     United States v. Valle,
21     807 F.3d 508 (2d Cir. 2015) ....................................................................................................... 14
22   Van Buren v. United States,
       593 U.S. 374 (2021) ...................................................................................... 12, 13, 14, 17, 19, 24
23
                                                                   STATUTES & RULES
24

25   18 U.S.C. § 1029 ............................................................................................................................... 24
26   California Comprehensive Data Access and Fraud Act (“CDAFA”), Cal. Pen. Code § 502 .......... 25
     Computer Fraud and Abuse Act (“CFAA”), 18 U.S.C. § 1030 ................................................ passim
27
     Fed. R. Civ. P. 56 ................................................................................................................................ 5
28
                                                       iv
     PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
      Case 4:19-cv-07123-PJH           Document 401         Filed 09/27/24      Page 6 of 32




 1              NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT
 2          PLEASE TAKE NOTICE THAT, on November 1, 2024 at 1:30 pm in Courtroom 3 of the
 3   U.S. District Court for the Northern District of California, Plaintiffs WhatsApp LLC (“WhatsApp”)
 4   and Meta Platforms, Inc. (“Meta”; together with WhatsApp, “Plaintiffs”) will and hereby do move
 5   for partial summary judgment pursuant to Federal Rule of Civil Procedure 56 on Defendants’
 6   liability to Plaintiffs on their claims for (1) breach of contract; (2) violation of the Computer Fraud
 7   and Abuse Act (“CFAA”), 18 U.S.C. § 1030; and (3) violation of the California Comprehensive
 8   Computer Data Access and Fraud Act (“CDAFA”), Cal. Penal Code § 502. This Motion is based
 9   upon this Notice of Motion and Motion, the accompanying Memorandum of Points and
10   Authorities, the Declarations of Micah G. Block and Meghan Andre and all exhibits thereto, the
11   pleadings and papers on file in this action, and on such other written and oral argument as may be
12   presented to the Court.
13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                      v
     PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
         Case 4:19-cv-07123-PJH         Document 401         Filed 09/27/24      Page 7 of 32




 1                         MEMORANDUM OF POINTS AND AUTHORITIES
 2           On October 29, 2019, Plaintiffs WhatsApp and Meta filed their Complaint against
 3   Defendants NSO Group and Q Cyber (collectively, “NSO”), alleging violations of the Computer
 4   Fraud and Abuse Act (“CFAA”) and California Comprehensive Data Access and Fraud Act
 5   (“CDAFA”), and contractual breaches of WhatsApp’s Terms of Service. By its Order dated July
 6   16, 2020, the Court held that Plaintiffs’ allegations, if proven, sufficed to establish liability on those
 7   claims, as well as personal jurisdiction. Now, with fact discovery completed, the undisputed
 8   evidence—including the deposition testimony of Defendants’ own percipient and corporate
 9   representative witnesses, and Defendants’ limited production of internal documents 1—has
10   confirmed the truth of those allegations. Because the undisputed evidence establishes Defendants’
11   liability on all claims, summary judgment should be entered for Plaintiffs, leaving only the amount
12   of damages to be tried.
13           As a threshold matter, NSO admits that
14

15

16

17

18   Defendants have admitted that
19

20

21

22                  —all in violation of federal and state law and the plain language of WhatsApp’s
23   Terms of Service. NSO’s documents reflect that
24
     1
       Subject to further conferring with NSO, Plaintiffs intend to file a separate motion for sanctions in
25   light of NSO’s violation of the Court’s discovery orders, including through its failure to produce
     categories of documents, such as source code, which the Court ordered Defendants to produce.
26   Because summary judgment is warranted on the undisputed facts, Plaintiffs’ motion is not
     contingent on the Court granting the relief in Plaintiffs’ anticipated sanctions motion. Nonetheless,
27   sanctions are warranted given the scope of NSO’s misconduct and its prejudicial impact on
     Plaintiffs’ ability to prosecute this case.
28
                                                      1
     PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
         Case 4:19-cv-07123-PJH         Document 401        Filed 09/27/24      Page 8 of 32




 1

 2

 3            The purpose of NSO’s conduct is also undisputed: to extract valuable information from
 4   WhatsApp servers and target devices, and do so secretly, in a manner intentionally designed to
 5   deceive and evade detection by not only the owners of the target devices, but by WhatsApp itself.
 6   NSO has admitted that
 7

 8                               Indeed, NSO has admitted that,
 9                                                                          NSO also admits
10

11

12            Even after WhatsApp detected and blocked the exploit described in the Complaint in May
13   2019, NSO admits that
14

15

16                                NSO’s witnesses have
17                                                    All of these facts are undisputed, drawn principally
18   from the corporate representative testimony of NSO’s own witnesses, which is binding on
19   Defendants.
20            These undisputed facts, and others set forth herein, leave no triable issue as to Defendants’
21   liability on any claim. NSO’s admitted actions
22   violate the plain terms of the WhatsApp Terms of Service and constitute contractual breaches as a
23   matter of law. The undisputed evidence establishes that NSO accepted those Terms,
24

25

26   2
         These newly discovered facts stand in stark contrast to NSO’s arguments,
27

28
                                                        2
     PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
         Case 4:19-cv-07123-PJH         Document 401         Filed 09/27/24      Page 9 of 32




 1

 2

 3           —establishes violations of the CFAA and CDAFA. NSO’s access to WhatsApp servers and
 4   the target devices was unauthorized and exceeded any authorized access,                       . And as
 5   to Plaintiffs’ claim under CFAA § 1030(a)(6), for trafficking in password or similar information,
 6   NSO admits
 7           In short, discovery confirmed the very allegations this Court already ruled were sufficient
 8   for liability—as well as revealing new, undisputed facts further establishing liability. Judgment as
 9   a matter of law should be entered in Plaintiffs’ favor as to liability on all their claims.
10                                              BACKGROUND
11           WhatsApp provides an encrypted communication service available on mobile devices and
12   desktop computers.3 See Ex. 1 (Youssef Rep.) at 10.4 WhatsApp users must first install the
13   legitimate WhatsApp client application (“Official Client”), and agree to the WhatsApp Terms of
14   Service (“Terms”) before using WhatsApp. Ex. 2 (Lee Dep.) at 176:5-179:4; see also Ex. 3 (Woog
15   Dep.) at 177:7-23; Ex. 1 (Youssef Rep.) at 26-27. WhatsApp signaling servers authenticate the
16   Official Client based on an encrypted key created during registration, and then provide a temporary
17   token used to access WhatsApp’s relay servers. Ex. 4 (Gheorghe Dep.) at 117:21-119:25, 136:5-
18   137:13. The signaling servers start the call between users, and the relay servers “handl[e] the
19   realtime traffic between devices during a call.” Id. at 31:14-17, 33:10-21.
20           NSO’s principal spyware product is called “Pegasus.” See, e.g., (Dkt. No. 182-1, Ex. Q)
21   (noting NSO’s “key surveillance product” is Pegasus). NSO uses
22

23

24

25
     3
26    Meta served as WhatsApp’s service provider, which entails providing both infrastructure and
     security for WhatsApp. See Ex. 4 (Gheorghe Dep.) at 36:17-37:9; 92:18-21.
27   4
      Citations to “Ex_” refer to the exhibits submitted in connection with the Declaration of Micah G.
     Block filed contemporaneously herewith, except as otherwise noted.
28
                                                        3
     PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH         Document 401        Filed 09/27/24      Page 10 of 32




 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18                                                                                In September 2018
19   and again in December 2018, Plaintiffs made security updates to WhatsApp’s servers that
20

21

22

23

24

25

26

27   5

28
                                                        4
     PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH           Document 401         Filed 09/27/24       Page 11 of 32




 1

 2

 3

 4          After detecting NSO’s malicious messages in May 2019, Plaintiffs’ employees invested
 5   significant time investigating the source of the exploit and remediating it by making changes to its
 6   servers and the Official Client. Ex. 4 (Gheorghe Dep.) at 29:22-25; Ex. 12 (Trexler Rep.) at 21-31.
 7

 8

 9   Plaintiffs also disabled NSO’s WhatsApp accounts,
10              , and filed this lawsuit. (Dkt. No. 1). NSO then
11

12

13

14

15                                           LEGAL STANDARD
16          A motion for summary judgment must be granted where there is “no genuine dispute as to
17   any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a),
18   (c). As the party bearing the burden of proof at trial, Plaintiffs “must affirmatively demonstrate that
19   no reasonable trier of fact could find other than for the moving party.” Soremekun v. Thrifty
20   Payless, Inc., 509 F.3d 978, 984 (9th Cir. 2007). In response to such showing, NSO must set forth
21   “specific facts showing that there is a genuine issue for trial.” T.W. Elec. Serv., Inc. v. Pac. Elec.
22   Contractors Ass’n, 809 F.2d 626, 630 (9th Cir. 1987) (quoting Fed. R. Civ. P. 56(e)).
23                                               ARGUMENT
24   I. NSO IS LIABLE ON PLAINTIFFS’ BREACH OF CONTRACT CLAIM
25          There is no genuine dispute as to any element of Plaintiffs’ breach of contract claim, which
26   requires proof of: “(1) the existence of the contract, (2) plaintiff’s performance or excuse for
27   nonperformance, (3) defendant’s breach, and (4) the resulting damages to plaintiff.” E.D.C. Techs.,
28   Inc. v. Seidel, 216 F. Supp. 3d 1012, 1015 (N.D. Cal. 2016). NSO admits it
                                                        5
     PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH           Document 401         Filed 09/27/24      Page 12 of 32




 1            , and thus agreed to the Terms              . NSO
 2

 3                                                                         , which all violate the Terms.
 4   NSO’s breaches indisputably damaged Plaintiffs, and Plaintiffs are entitled to summary judgment.
 5          A. NSO Agreed to the Terms
 6          NSO admits
 7                                     See, e.g., Ex. 6 (Gazneli Dep.) at 272:9-276:18; Ex. 8 (Eshkar
 8   Dep.) at 17:13-23, 21:13-24; Ex. 14 (PX2039) at -490. There is no genuine dispute that
 9              agreed to the Terms, a necessary step in the WhatsApp registration process, which is
10   sufficient to have bound NSO to the Terms. See AWR Corp. v. ZTE, Corp., 2011 WL 13217534, at
11   *2–3 (C.D. Cal. June 13, 2011) (employees can bind employers to agreements “incidental to and
12   reasonably proper in the performance of an assigned task.” (citation omitted)).
13          Plaintiffs have established—and NSO does not dispute—that agreeing to the Terms is
14   necessary to create a WhatsApp account and use WhatsApp. During the registration process, a
15   prospective user is notified about and required to consent to the Terms. See Ex. 2 (Lee Dep.) at
16   176:5-1:4 (“[I]n order to proceed with the registration flow, you have to click a button . . . to
17   demonstrate agreement of the terms of service, and to continue with the registration process.”);
18   accord Ex. 3 (Woog Dep.) at 177:7-23; Ex. 1 (Youssef Rep.) at 26-27; see Tompkins v. 23andMe,
19   Inc., 2014 WL 2903752, at *8-9 (N.D. Cal. June 25, 2014) (parties “accepted the TOS when they
20   created accounts” by “click[ing] a box . . . that appeared near a hyperlink to the TOS to indicate
21   acceptance of the TOS”). There is no genuine dispute that
22   See Ex. 8 (Eshkar Dep.) at 70:16-72:25; Ex. 16 (Shaner Dep.) at 326:9-327:9. In addition, the
23   Terms provide that a user “agrees to [WhatsApp’s] Terms of Service by installing, accessing, or
24   using our apps [and] services.” Ex. 11 (WA-NSO-00014825) at -825; see Nguyen v. Barnes &
25   Noble Inc., 763 F.3d 1171, 1177 (9th Cir. 2014) (“explicit textual notice that continued use will act
26   as a manifestation of the user’s intent to be bound” suffices).
27          First, it is undisputed that
28
                                                        6
     PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH         Document 401        Filed 09/27/24      Page 13 of 32




 1

 2

 3

 4

 5

 6

 7

 8

 9

10       According to WhatsApp’s business records,                   the phone numbers used in the
11   May 2019 attacks with WhatsApp from October 2018 to May 2019. Ex. 18 (WA-NSO-00192176).
12          Second,
13

14

15

16

17

18

19

20

21

22

23

24

25
     6
26
                                                                                            See Andre
27   Decl. ¶ 9, Ex. A; Block Decl. ¶ 18 Ex. 23 (WA-NSO-00195067); Ex. 17
     (NSO_WHATSAPP_00044814).
28
                                                        7
     PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH           Document 401        Filed 09/27/24       Page 14 of 32




 1

 2

 3

 4

 5

 6

 7                                                  Block Decl. ¶¶ 36-37; Andre Decl. ¶¶ 3-8, Ex. A.
 8          B. NSO Breached the Contract
 9          The undisputed facts show that NSO violated the Terms in multiple ways. Indeed,
10

11

12   Ex. 6 (Gazneli Dep.) at 222:1-224:16. It is therefore unsurprising that
13                                                                       breached those Terms.
14          Reverse-Engineering: The Terms prohibit, “directly or through automated means . . .
15   reverse engineer[ing], alter[ing], modify[ing], creat[ing] derivative works from, decompil[ing], or
16   extract[ing] code from [WhatsApp’s] Services.” Ex. 11 (WA-NSO-00014825) at -827. NSO
17   violated these provisions by
18

19

20

21

22

23

24                                                                             According to
25                    NSO
26

27          Sending Harmful Computer Code: The Terms prohibit “directly or through automated
28   means . . . send[ing], stor[ing], or transmit[ting] viruses or other harmful code through or onto
                                                        8
     PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
Case 4:19-cv-07123-PJH   Document 401   Filed 09/27/24   Page 15 of 32
     Case 4:19-cv-07123-PJH          Document 401        Filed 09/27/24      Page 16 of 32




 1          Accessing or Attempting to Access WhatsApp Without Authorization: The Terms state
 2   that WhatsApp must be accessed and used “only for legal, authorized, and acceptable purposes.”
 3   Ex. 11 (WA-NSO-00014825) at -827. The terms also prohibit “gain[ing] or attempt[ing] to gain
 4   unauthorized access to [WhatsApp’s] Services or systems.” Id. As demonstrated below, see infra
 5   § II.A.2, the undisputed facts show that NSO violated these terms.
 6          NSO admits
 7

 8

 9

10                                                                               NSO knew
11

12          WhatsApp also implemented security measures in September and December 2018 that
13                                                                                               See infra
14   § II.A.2.b; Ex. 1 (Youssef Rep.) at 38; Ex. 25 (Vance Rep.) at 6-10.
15

16

17          There is no dispute that NSO
18                             See infra § II.A.2.c. As part of remediating NSO’s May 2019 attacks,
19   Plaintiffs “purge[d]” the WhatsApp accounts of the attacker phone numbers used in the May 2019
20   attacks, as well as other accounts affiliated with NSO. See Exs. 18 & 19 (WA-NSO-00192176);
21   see Ex. 15 (SHANER_WHATSAPP_00001480) at -481 (
22                                  ). Plaintiffs then filed this lawsuit alleging that NSO’s access was
23   unauthorized and violated the Terms and federal and state law. (Dkt. No. 1). Yet, NSO admits
24                                                                   See Ex. 6 (Gazneli Dep.) at 270:16-
25   271:13. There is thus no genuine dispute NSO “gain[ed] or attempt[ed] to gain unauthorized access
26   to [WhatsApp’s] Services” in violation of the Terms. Ex. 11 (WA-NSO-00014825) at -827.
27          Using WhatsApp for Illegal Purposes: Finally, the Terms prohibit using WhatsApp in
28   ways that “are illegal.” Id. As explained in Section II and III, infra, NSO’s use of WhatsApp
                                                       10
     PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH          Document 401        Filed 09/27/24      Page 17 of 32




 1   violated the CFAA and CDAFA, and breached the Terms for that reason as well.
 2          C. Plaintiffs Fulfilled Their Obligations and Suffered Damages From NSO’s Breaches
 3          There is no genuine dispute that WhatsApp fulfilled its contractual obligations by providing
 4   its services, Facebook, Inc. v. Sluchevsky, 2020 WL 5823277, at *7 (N.D. Cal. Aug. 28, 2020), and
 5   suffered damages from NSO’s breaches. Plaintiffs incurred costs investigating and remediating
 6   NSO’s breaches, see, e.g., Ex. 33 (Robinson Dep.) at 287:2-295:11; infra § II.D, which are
 7   recoverable as damages. See Planned Parenthood Fed'n of Am., Inc. v. Ctr. for Med. Progress, 402
 8   F. Supp. 3d 615, 659 (N.D. Cal. 2019).
 9                     , see Ex. 26 (Trexler Supp. Rep.) at 2-3; Ex. 27 (PX2045); which Plaintiffs are
10   entitled to have disgorged as contract damages. See, e.g., Artifex Software, Inc. v. Hancom, Inc.,
11   2017 WL 4005508, at *4 (N.D. Cal. Sept. 12, 2017). And California law permits recovery of
12   nominal damages based on the breach alone. See Silicon Image, Inc. v. Analogix Semiconductor,
13   642 F. Supp. 2d 957, 964 (N.D. Cal. 2008). Thus, for the foregoing reasons, the Court should grant
14   partial summary judgment finding NSO liable on Plaintiffs’ claim for breach of contract.
15   II. NSO IS LIABLE ON PLAINTIFFS’ CFAA CLAIMS
16          The undisputed facts show that Defendants violated the CFAA. NSO admits that
17

18

19

20

21

22

23                                                                       NSO is therefore liable for
24   knowingly and intentionally accessing WhatsApp’s servers and users’ devices without
25   authorization or in excess of any purported authorization; conspiring with its customers to do the
26   same; and trafficking in password-like information that provided such unauthorized access.
27          A. NSO Violated § 1030(a)(2) and § 1030(a)(4) of the CFAA
28          Section 1030(a)(2) prohibits “intentionally access[ing] a computer without authorization or
                                                       11
     PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH           Document 401         Filed 09/27/24      Page 18 of 32




 1   exceed[ing] authorized access, and thereby obtain[ing] . . . information from any protected
 2   computer.” 18 U.S.C. § 1030(a)(2)(C). Section 1030(a)(4) prohibits “knowingly and with intent to
 3   defraud, access[ing] a protected computer without authorization or exceed[ing] authorized access”
 4   and thereby furthering “the intended fraud and obtain[ing] anything of value.” 18 U.S.C.
 5   § 1030(a)(4). The undisputed facts show NSO violated both provisions.
 6                  1. NSO Intentionally Accessed WhatsApp’s Servers and the Target Devices
 7          There is no genuine dispute that NSO knowingly and intentionally accessed WhatsApp’s
 8   servers and the target devices                             . See Van Buren v. United States, 593
 9   U.S. 374, 387 (2021) (“‘[A]ccess’ references the act of entering a computer ‘system itself’ . . . .”).
10          As to WhatsApp’s servers, Mr. Gazneli explained that
11

12

13

14

15                                 NSO admits that
16

17

18

19

20

21

22

23

24

25          NSO also admits
26

27

28                                The undisputed evidence shows that NSO used U.S.-based WhatsApp
                                                       12
     PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH          Document 401        Filed 09/27/24      Page 19 of 32




 1   relay servers at least 176 times in May 2019 alone, including relay servers in San Jose and Los
 2   Angeles, California. See Ex. 28 (WA-NSO-00166473); Ex. 4 (Gheorghe Dep.) at 206:8-17
 3   (explaining that servers located in “the San Jose and Los Angeles metro areas . . . were involved in
 4   [the] attacks.”). NSO knew
 5                                See Ex. 1 (Youssef Rep.) at 37; Ex. 29 (Youssef Rebuttal) at 21.
 6          NSO refused to produce documents regarding Pegasus’s full functionality, in violation of
 7   this Court’s Orders (Dkt. Nos. 292, 358),
 8                                                 NSO admits, however, that
 9                                                                           Ex. 20 (Defs.’ Resps. to
10   Pls.’ First RFAs) at 18-19. Indeed,
11

12                            NSO also admits
13

14                  2. NSO Accessed WhatsApp Servers and the Official Client on Target Devices
15                      Without Authorization or Exceeded Any Purported Authorized Access
16          The undisputed evidence demonstrates that NSO accessed WhatsApp’s servers and user
17   devices “without authorization,” or at least exceeded any alleged authorization NSO purports to
18   have had. 18 U.S.C. § 1030(a)(2) & (a)(4).
19          “The ‘without authorization’ clause . . . protects computers themselves by targeting so-
20   called outside hackers—those who ‘acces[s] a computer without any permission at all.’” Van
21   Buren, 593 U.S. at 389-90 (quoting LVRC Holdings LLC v. Brekka, 581 F.3d 1127, 1133 (9th Cir.
22   2009)). “[T]he CFAA’s prohibition on accessing a computer ‘without authorization’ is violated
23   when a person circumvents a computer’s generally applicable rules regarding access permissions,
24   such as username and password requirements, to gain access to a computer.” hiQ Labs, Inc. v.
25   LinkedIn Corp., 31 F.4th 1180, 1201 (9th Cir. 2022). By contrast, “the ‘exceeds authorized access’
26   clause . . . target[s] so-called inside hackers—those who access a computer with permission, but
27   then ‘exceed the parameters of authorized access by entering an area of the computer to which
28   [that] authorization does not extend.’” Van Buren, 593 U.S. at 389-90 (quoting United States v.
                                                       13
     PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH           Document 401        Filed 09/27/24      Page 20 of 32




 1   Valle, 807 F.3d 508, 524 (2d Cir. 2015)). “[A]n individual ‘exceeds authorized access’ when he
 2   accesses a computer with authorization but then obtains information located in particular areas of
 3   the computer—such as files, folders, or databases—that are off limits to him.” Id. at 396.
 4          “[L]iability under both clauses stems from a gates-up-or-down inquiry—one either can or
 5   cannot access a computer system, and one either can or cannot access certain areas within the
 6   system,” based on either “technological (or ‘code-based’) limitations on access,” or “limits
 7   contained in contracts or policies.” Id. at 390 & n.8. “The operative question is whether ‘the
 8   conduct at issue is analogous to ‘breaking and entering.’” (Dkt. No. 111 at 35); accord hiQ Labs,
 9   31 F.4th at 1197. “[A] defendant can run afoul of the CFAA when he or she has no permission to
10   access a computer or when such permission has been revoked explicitly,” and “[o]nce permission
11   has been revoked, technological gamesmanship or the enlisting of a third party to aid in access will
12   not excuse liability.” Facebook, Inc. v. Power Ventures, Inc., 844 F.3d 1058, 1067-68 (9th Cir.
13   2016); see also United States v. Nosal (“Nosal II”), 844 F.3d 1024, 1035-36 (9th Cir. 2016)
14   (“unauthorized access” includes “getting into the computer after categorically being barred from
15   entry”). Furthermore, “deceit vitiates consent” if the deceptive conduct “relates to the essential
16   nature of his access.” See Theofel v. Farey-Jones, 359 F.3d 1066, 1073-74 (9th Cir. 2004)
17   (“us[ing] someone else’s password to break into a mail server and then claim[ing] the server
18   ‘authorized’ his access” is “the paradigm of what [the CFAA] sought to prohibit”).
19          The undisputed evidence demonstrates that
20                                                   (Dkt. No. 111 at 37), but rather an “outside
21   hacker[],” Van Buren, 593 U.S. at 389-90, accessing WhatsApp’s servers and target devices
22   “without authorization.” NSO admits
23

24                   See infra § II.A.2.a. The record further demonstrates that WhatsApp server
25   updates made in September and December 2018
26                                                                            . See infra § II.A.2.b. NSO
27   admits that
28
                                                       14
     PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH            Document 401         Filed 09/27/24      Page 21 of 32




 1                      See id. Additionally, NSO now admits that
 2

 3

 4                                  See infra § II.A.2.c. NSO’s access was without authorization under
 5   well-established precedent,8 but at a minimum, exceeded any authorization NSO purportedly had.
 6                  a) NSO Bypassed the Restrictions Built Into the Official Client
 7          The undisputed evidence demonstrates that
 8                                     gained unauthorized access to WhatsApp’s servers. See Theofel,
 9   359 F.3d at 1073 (“deceit vitiates consent” if it “relates to the essential nature of his access”).
10          WhatsApp’s “client application is an official application built by WhatsApp to run on
11   mobile devices.” Ex. 4 (Gheorghe Dep.) at 78:23-79:1. The Official Client accesses WhatsApp’s
12   signaling servers using a “proprietary . . . noise protocol” that authenticates the Official Client
13   based on “an identity key that’s stored on the client device” and “obtained through the registration
14   process to WhatsApp,” which should “never leave the client device.” Id. at 135:20-140:1. Once
15   authenticated by the signaling servers, the Official Client receives a temporary authorization token
16   that permits access to WhatsApp’s relay servers. See id. at 134:20-135:19. Due to these access
17   restrictions, NSO concedes that
18

19                                                 Ex. 6 (Gazneli Dep.) at 278:16-279:6.
20          As this Court recognized previously, “[b]y creating WhatsApp accounts and accepting the
21   terms of service, defendants, as is true of any WhatsApp user, had authorization to send messages
22
     8
23    The Court’s order on NSO’s motion to dismiss concluded that the complaint did not state a
     “without authorization” claim, based on the understanding that NSO implemented its attacks by
24   “sen[ding] messages using the WhatsApp app.” (Dkt. No. 111 at 37.) But discovery has revealed
     NSO
25
                                                                                   (Dkt. No. 1 ¶ 35).
26   These facts, and the newly discovered evidence that NSO
             , see infra § II.A.2.b-c, demonstrate NSO’s liability on Plaintiffs’ “without authorization”
27   claim. (Dkt. No. 1 ¶¶ 53-54). To the extent pursuing that claim now requires reconsidering the
     Court’s prior order or deeming the pleadings amended to conform to the evidence, Plaintiffs
28   respectfully request that the Court construe this motion as seeking that relief.
                                                       15
     PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH           Document 401         Filed 09/27/24      Page 22 of 32




 1   using the WhatsApp app, which would be transmitted over WhatsApp’s servers.” (Dkt. No. 111 at
 2   37 (emphasis added)). Here, NSO
 3   because the Official Client is the first line of defense for WhatsApp’s servers. WhatsApp
 4   “designed it[s code] and . . . wrote it, assuming that the messages being sent are a part of the
 5   WhatsApp network and that they’re official clients built by the WhatsApp team.” Ex. 4 (Gheorghe
 6   Dep.) at 279:25-280:10. As NSO admits,
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23          To circumvent these technical limitations, NSO
24

25

26

27

28
                                                       16
     PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH          Document 401        Filed 09/27/24     Page 23 of 32




 1

 2                  NSO’s circumvention of the “technological (or ‘code-based’) limitations on access”
 3   built into the Official Client was without authorization. See Van Buren, 593 U.S. at 390 n.8.
 4          Like in Nosal II, it is no defense that NSO used “legitimate access credentials”
 5                                                                  , because NSO “had no mantle or
 6   authority to override [WhatsApp’s] authority to control access to its computers and confidential
 7   information”                                                . Nosal II, 844 F.3d at 1035. NSO
 8   knew                                                                                            Cf.
 9   Theofel, 359 F.3d at 1073-74 (concluding “Defendants had at least constructive knowledge” that
10   subpoena used to procure emails was “invalid” and “deceptive”). In a document evaluating
11

12

13

14

15

16

17

18                           NSO also
19

20

21          Despite NSO’s attempts to avoid detection, the undisputed evidence shows that in 2018,
22

23   Specifically, in September and again in December 2018, Plaintiffs implemented security updates to
24   WhatsApp’s server code
25

26                                See Ex. 25 (Vance Rep.) at 8-10; Ex. 1 (Youssef Rep.) at 37-39.
27   NSO’s own expert admits
28                            Ex. 30 (McGraw Rebuttal) at 26-27 (citation omitted).
                                                       17
     PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH           Document 401        Filed 09/27/24      Page 24 of 32




 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11          Nevertheless, after Plaintiffs’ security updates further confirmed that
12

13

14

15

16

17

18

19                                                              Because “technological gamesmanship
20   . . . will not excuse liability” after authorization has been clearly revoked, Power Ventures, 844
21   F.3d at 1067, NSO had no authorization for the May 2019 attacks.
22

23

24          NSO admits
25

26                    In remediating the May 2019 attacks, Plaintiffs disabled the attackers’ WhatsApp
27   accounts, as well as all Meta-affiliated accounts associated with known NSO employees. See Ex.
28   18 (WA-NSO-00192176) (identifying 58 accounts purged in June and July 2019); (Dkt. No. 221-2
                                                       18
     PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH            Document 401       Filed 09/27/24      Page 25 of 32




 1   (identifying litigation filed in Israel over Plaintiffs disabling NSO employee accounts)). Plaintiffs
 2   also filed this litigation alleging NSO’s access was unauthorized and seeking to permanently enjoin
 3   NSO from accessing WhatsApp. (Dkt. No. 1). Yet, NSO now admits
 4

 5

 6

 7                           See Nosal II, 844 F.3d at 1035-36; Power Ventures, 844 F.3d at 1067.
 8                  d) NSO Exceeded Any Purported Authorization to Access WhatsApp’s Servers
 9          Setting aside that NSO had no authorization to access WhatsApp’s servers for
10          , summary judgment would still be warranted because NSO exceeded any purported
11   authorized access by circumventing WhatsApp’s “technological (or ‘code-based’) limitations on
12   access” and “limits contained in contracts or policies.” See Van Buren, 593 U.S. at 390 n.8.
13          There is no dispute that
14                                                                                             (Dkt. No.
15   111 at 37). As explained above, the Official Client contains technological, code-based limitations
16   preventing users from
17                                                                                           See supra
18   § II.A.2.a. NSO knew                                                                     , see Ex. 24
19   (PX2033) at -959, and has admitted that
20                                                                          , see supra § II.A.2.a.
21          NSO also deliberately circumvented technological, code-based limitations on WhatsApp’s
22   servers. As demonstrated above, NSO knew
23

24                                                                               As the Ninth Circuit has
25   made clear, “[o]nce permission has been revoked, technological gamesmanship . . . will not excuse
26   liability.” Power Ventures, 844 F.3d at 1067. Thus, the mere fact that NSO was
27                                                                               does not mean its access
28   was within the scope of any purported authorization. See United States v. Phillips, 477 F.3d 215,
                                                       19
     PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH          Document 401        Filed 09/27/24      Page 26 of 32




 1   220 (5th Cir. 2007) (“[C]onduct, like ‘password guessing’ or finding ‘holes in ... programs,’ that
 2   uses computer systems not ‘in any way related to their intended function’ amounts to obtaining
 3   unauthorized access.” (quoting United States v. Morris, 928 F.2d 504, 510 (2d Cir. 1991))).
 4                   e) NSO Accessed Target Devices Without Authorization
 5           There is no genuine dispute that NSO caused target devices to be accessed without
 6   authorization. Any claim by NSO that
 7              is legally irrelevant. First, because NSO’s access to WhatsApp servers was without
 8   authorization, the fact that                                                 is not a defense to
 9   liability. Once NSO’s access to WhatsApp’s servers is shown to be without authorization,
10                                      does not matter. See 18 U.S.C. § 1030(a)(2), (4); see also
11   Morris, 928 F.2d at 511. Moreover, NSO
12

13

14                                                             NSO’s documents explain
15

16

17

18

19

20                   3. NSO Obtained Information in Violation of § 1030(a)(2)
21           NSO used its unauthorized access to obtain “information from any protected computer.” 18
22   U.S.C. § 1030(a)(2)(C). A “protected computer” is one “used in or affecting interstate or foreign
23   commerce or communication,” id. § 1030(e)(2)(B), and includes “effectively any computer
24   connected to the Internet.” hiQ Labs, 31 F.4th at 1195.
25                                                See Ex. 6 (Gazneli Dep.) at 107:5-18.
26           The undisputed evidence shows that NSO
27                                                                    NSO admits
28
                                                       20
     PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH            Document 401        Filed 09/27/24      Page 27 of 32




 1            See id. at 294:10-15. NSO also
 2

 3

 4                                          NSO also
 5

 6

 7          NSO also admits
 8

 9                                                                           The product description for
10   Pegasus (Dkt. No. 1-1, Ex. 10),
11                    describes the many types of data and information Pegasus exfiltrates from target
12   devices. And
13

14

15

16

17

18          It makes no difference whether the information came from the servers or the target devices,
19   because Section 1030(a)(2)(C) prohibits “access[ing] a computer” and “thereby” obtaining
20   information “from any protected computer,” not the same computer. “It is a well-established
21   canon of statutory interpretation that the use of different words or terms within a statute
22   demonstrates that Congress intended to convey a different meaning for those words.” SEC v.
23   McCarthy, 322 F.3d 650, 656 (9th Cir. 2003). By requiring unauthorized access to “a computer,”
24   but information from “any protected computer,” Congress made clear the “protected computer”
25   need not be the same “computer” accessed without authorization. See Theofel, 359 F.3d at 1078
26   (“The civil remedy extends to ‘[a]ny person,’” and “‘any’ has an expansive meaning, that is, ‘one
27   or some indiscriminately of whatever kind.’” (quoting first 18 U.S.C. § 1030(g), then HUD v.
28   Rucker, 535 U.S. 125, 131 (2002))); Morris, 928 F.2d at 511 (“Congress was punishing those . . .
                                                       21
     PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH            Document 401       Filed 09/27/24      Page 28 of 32




 1   who, with access to some computers that enable them to communicate on a network linking other
 2   computers, gain access to other computers to which they lack authorization . . . .”).
 3          Furthermore, the term “computer” is not limited to a single device, but “includes any data
 4   storage facility or communications facility directly related to or operating in conjunction with such
 5   device.” 18 U.S.C. § 1030(e)(1). Given this broad definition, “[t]he CFAA’s restrictions have been
 6   applied to computer networks, databases and cell phones.” Nosal II, 844 F.3d at 1032 n.2. There is
 7   no genuine dispute that WhatsApp is a communications network, and
 8

 9                  4. NSO Defrauded Plaintiffs and WhatsApp Users in Violation of § 1030(a)(4)
10          Section 1030(a)(4) requires proof that a defendant accessed a computer “with intent to
11   defraud” and “by means of such conduct furthers the intended fraud and obtains anything of value,”
12   which may include the use of a computer if valued at “more than $5,000 in any 1-year period.” 18
13   U.S.C. § 1030(a)(4). “[F]raud ‘under the CFAA only requires a showing of unlawful access; there
14   is no need to plead the elements of common law fraud to state a claim under the Act.’” Facebook,
15   Inc. v. MaxBounty, Inc., 274 F.R.D. 279, 284 (N.D. Cal. 2011) (citations omitted); see Shurgard
16   Storage Ctrs., Inc. v. Safeguard Self Storage, Inc., 119 F. Supp. 2d 1121, 1126 (W.D. Wash. 2000)
17   (“fraud” means “wrongdoing” and does not require proof of common law fraud). For example, in
18   Multiven, Inc. v. Cisco Sys., Inc., 725 F. Supp. 2d 887 (N.D. Cal. 2010), a former employee acted
19   with “intent to defraud” when he used a co-worker’s passwords to access Cisco’s computer
20   network, with knowledge of Cisco’s policy prohibiting such access. Id. at 892-94.
21          There is no dispute that
22

23

24                                                                         NSO admits
25

26                 By means of this deceptive conduct, NSO
27

28
                                                       22
     PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH          Document 401       Filed 09/27/24      Page 29 of 32




 1

 2

 3

 4

 5

 6

 7

 8          B. NSO Conspired with Clients to Use Its Technology in Violation of § 1030(b)
 9          NSO cannot evade liability by                                                       Section
10   1030(b) imposes liability on any person that conspires to commit or attempts to commit a CFAA
11   violation. See 18 U.S.C. § 1030(b). A conspiracy “requires ‘specific allegations of an agreement
12   and common activities.’” In re: Lenovo Adware Litig., 2016 WL 6277245, at *6 (N.D. Cal. Oct.
13   27, 2016) (quoting NetApp, Inc. v. Nimble Storage, Inc., 41 F. Supp. 3d 816, 835 (N.D. Cal. 2014)).
14   There is no dispute that NSO
15          NSO admits it
16

17                                                  NSO admits
18                                                                             And NSO admits
19

20          NSO also engaged in “common activities” that furthered the CFAA violations. Lenovo,
21   2016 WL 6277245, at *6. In addition to                                            NSO admits
22

23                                                                            NSO also admits
24

25

26
     9
      That infrastructure included at least one California-based server, the IP address of which
27                                            See Dkt. 55-6 (Mornin Decl.) ¶ 2; Dkt. No. 55-2 (Gheorge
     Decl.) ¶¶ 3-4; Ex. 29 (Youssef Rebuttal) at 22.
28
                                                       23
     PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH           Document 401        Filed 09/27/24      Page 30 of 32




 1

 2                        NSO is thus liable for                        as a co-conspirator.
 3          C. NSO Trafficked in Password-Like Information in Violation of § 1030(a)(6)
 4          CFAA Section 1030(a)(6) prohibits “knowingly and with intent to defraud” trafficking “in
 5   any password or similar information through which a computer may be accessed without
 6   authorization.”10 The CFAA defines “traffic” as to “transfer, or otherwise dispose of, to another, or
 7   obtain control of with intent to transfer or dispose of.” 18 U.S.C. § 1029(e)(5).
 8          NSO’s technology constitutes “password or similar information.” Indeed, NSO admits
 9

10                                                                       NSO also admits that
11

12

13                  Courts have deemed technologies circumventing similar access restrictions to be
14   “password or similar information” under the CFAA. See Temurian v. Piccolo, 2019 WL 5963831,
15   at *6 (S.D. Fla. Nov. 13, 2019) (“(API) information” transmitted to “gain access” to bitcoin
16   account); Mobile Active Def., Inc. v. L.A. Unified Sch. Dist., 2016 WL 7444876, at *7 (C.D. Cal.
17   Apr. 6, 2016) (“top secret, confidentially held URL”); MetroPCS v. Rivera, 220 F. Supp. 3d 1326
18   (N.D. Ga. 2016) (unlocked mobile devices); see also Van Buren, 593 U.S. at 390 n.9 (§ 1030(a)(6)
19   “turns on whether a user’s credentials allow him to proceed past a computer’s access gate”).
20          There is also no genuine dispute that NSO trafficked
21

22

23

24

25
     10
26      Although the Complaint did not identify § 1030(a)(6), “[a] complaint need not identify the
     statutory or constitutional source of the claim.” Alvarez v. Hill, 518 F.3d 1152, 1157 (9th Cir.
27   2008). Defendants were on notice Plaintiffs were pursuing claims under the CFAA, and based on
     “knowingly and without permission provid[ing] and assist[ing] in providing a means of accessing
28   Plaintiffs’ computers, computer systems, and computer networks.” (Dkt. No. 1 ¶¶ 24, 29, 61).
                                                       24
     PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH          Document 401         Filed 09/27/24     Page 31 of 32




 1

 2

 3

 4

 5          D. NSO Caused Plaintiffs a Loss of More than $5,000
 6          Plaintiffs have standing for a civil claim because they suffered at least $5,000 of “loss.” See
 7   18 U.S.C. §§ 1030(g), (c)(4)(A)(i)(I). “Loss” includes “any reasonable cost to any victim,
 8   including the cost of responding to an offense, conducting a damage assessment, and restoring the
 9   data, program, system, or information to its condition prior to the offense.” Id. § 1030(e)(11);
10   Power Ventures, 844 F.3d at 1066 (concluding time “analyzing, investigating, and responding to
11   [defendant’s] actions” was “loss”). The undisputed evidence shows that Plaintiffs’ employees
12   worked tirelessly to investigate the exploit and develop fixes for WhatsApp’s servers and the
13   Official Client to block NSO’s unauthorized access. See Ex. 4 (Gheorghe Dep.) at 208:19-209:11,
14   272:13-280:12; Ex. 33 (Robinson Dep.) at 287:2-295:11. The undisputed cost exceeded $5,000.
15   See Ex. 12 (Trexler Rep.) at 21-31;
16   III. NSO IS LIABLE ON PLAINTIFFS’ CDAFA CLAIM
17          Plaintiffs also are entitled to summary judgment on their CDAFA claim. See Cal. Pen.
18   Code § 502. CDAFA is “a state law counterpart to the CFAA.” Meta Platforms, Inc. v. Brand-
19   Total Ltd., 605 F. Supp. 3d 1218, 1260 (N.D. Cal. 2022). While “[t]he statutes are different,” and
20   CDAFA is broader in many respects, see United States v. Christensen, 828 F.3d 763, 789 (9th Cir.
21   2016), a CFAA violation will establish a CDAFA violation “because the necessary elements of
22   [CDAFA] do not differ materially from the necessary elements of the CFAA.” BrandTotal, 605 F.
23   Supp. 3d at 1260 (quoting Brodsky v. Apple Inc., 445 F. Supp. 3d 110, 131 (N.D. Cal. 2020)). For
24   the reasons described in Section II supra, the undisputed facts show NSO willfully and fraudulently
25   violated CDAFA, and Plaintiffs are entitled to summary judgment on that claim, too.
26                                             CONCLUSION
27          For the foregoing reasons, Plaintiffs respectfully request that the Court grant their motion
28   for partial summary judgment.
                                                       25
     PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH         Document 401        Filed 09/27/24      Page 32 of 32




      Dated: September 27, 2024                  Respectfully Submitted,
 1

 2                                               DAVIS POLK & WARDWELL LLP

 3                                               By: /s/ Micah G. Block
 4                                                   Greg D. Andres
                                                     Antonio J. Perez-Marques
 5                                                   Craig T. Cagney
                                                     Luca Marzorati
 6                                                     (admitted pro hac vice)
                                                     DAVIS POLK & WARDWELL LLP
 7
                                                     450 Lexington Avenue
 8                                                   New York, New York 10017
                                                     Telephone: (212) 450-4000
 9                                                   Facsimile: (212) 701-5800
                                                     Email: greg.andres@davispolk.com
10                                                           antonio.perez@davispolk.com
                                                             craig.cagney@davispolk.com
11
                                                            luca.marzorati@davispolk.com
12
                                                       Micah G. Block (SBN 270712)
13                                                     DAVIS POLK & WARDWELL LLP
                                                       1600 El Camino Real
14                                                     Menlo Park, California 94025
15                                                     Telephone: (650) 752-2000
                                                       Facsimile: (650) 752-2111
16                                                     Email: micah.block@davispolk.com

17                                                     Attorneys for Plaintiffs
                                                       WhatsApp LLC and Meta Platforms, Inc.
18

19

20

21

22

23

24

25

26

27

28
                                                       26
     PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
